               Case 3:21-cr-00155-JD Document 121 Filed 11/07/22 Page 1 of 6




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12                                  UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN FRANCISCO DIVISION

15    UNITED STATES OF AMERICA,                             Criminal No. 3:21-CR-00155-JD

16           Plaintiff,                                     UNITED STATES’ MOTION IN LIMINE
                                                            TO ADMIT CO-CONSPIRATOR
17                                                          STATEMENTS OF ROBERT BROCKMAN
                             v.
                                                            UNDER FED. R. EVID. 801(d)(2)(E)
18
      CARLOS E. KEPKE,
19                                                          Hearing.:            November 21, 2022
             Defendant.                                     Time:                1:30 a.m.
20                                                          Place:               Courtroom 11, 19th Floor

21

22
            The United States of America (“United States”), pursuant to the Court’s October 20, 2022,
23
     Minute Order, ECF 104, moves to admit out-of-court statements made by ROBERT BROCKMAN
24
     (“Brockman”) in or about December 1999, through witness Robert Smith (“Smith”), as non-hearsay
25
     under Fed. R. Evid 801(d)(2)(E), or in the alternative as non-hearsay not offered for the truth of the
26
     matter asserted, but to establish the effect of the statement on the listener – Robert Smith, and his actions
27
     in conformity therewith. Defendant was provided notice of the government’s intent to offer evidence
28
      GOVERNMENT’S MOTION IN LIMINE                     1
      FOR THE ADMISSION OF STATEMENTS
      BY ROBERT BROCKMAN
      UNDER FED. R. EVID. 801(D)(2)(E)
      Case No.: 3:21-CR-00155-JD
               Case 3:21-cr-00155-JD Document 121 Filed 11/07/22 Page 2 of 6




 1 during trial under Fed. R. Evid 801(d)(2)(E) on August 15, 2022, again on November 3, 2022, and more

 2 specifically, again on November 5, 2022. (See Exhibits 1, 2, and 3 filed herewith).

 3          It is expected that Smith will testify that in or about December 1999 Brockman verbally

 4 instructed him to retain Defendant to create the offshore trust (“Excelsior”) and wholly owned Limited

 5 Liability Corporation (“Flash Holdings, LLC). Pursuant to Brockman’s direction, the Excelsior/Flash

 6 structure was created to receive and hold a portion of the carried interest and capital gain income

 7 distributed from the private equity company, Vista Equity Partners (“Vista”), which Smith and

 8 Brockman formed in or about January 2000. To form Vista, Brockman, through his offshore LLC Point

 9 Investments (“Point”), invested approximately $800 million with Smith which included a guaranteed

10 rate of return of 8%, compounded annually. Smith personally guaranteed Brockman’s investment and

11 8% rate of return. To protect this investment, Brockman required Smith to deposit a portion of his

12 (Smith’s) Vista earnings into a Flash Holdings bank account in a foreign jurisdiction using a structure

13 that would avoid United States income taxes. Smith is expected to testify that Defendant created the

14 Excelsior/Flash structure, which is the subject of the charges against Defendant, for this purpose.

15                                                 ARGUMENT

16          The statement(s) made by Brockman to Smith referenced herein are not hearsay and are

17 admissible as statements of a co-conspirator, under Fed. R. Evid 801(d)(2)(E), or alternatively, as non-

18 hearsay, not offered for the truth of the matter of asserted, but to show the effect of the statement on the

19 listener – Smith. See United States v. Cedeno-Cedeno, 2016 WL 4376845 *8 (SDCA

20 2016)(unpublished) citing United States v. Payne, 944 F.2d 1458, 1472 (9th Cir. 1991) and United

21 States v. Connelly, 395 Fed. Appx. 407, 408 (9th Cir. 2010)(Unpublished)(out-of-court statement by

22 government of Columbia to United States Coast Guard admitted as non-hearsay to show effect on the

23 listener and provide context to United States Coast Guard’s actions).

24          A coconspirator’s statement may be admitted against a defendant where the prosecution shows

25 by preponderance of the evidence that: (1) the conspiracy existed when the statement was made; (2) the

26 defendant had knowledge of, and participated in, the conspiracy; and (3) the statement was made in

27 furtherance of the conspiracy. Bourjaily v. United States, 483 U.S. 171, 175 (1987); United States v.

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      GOVERNMENT’S MOTION IN LIMINE                                                                 2
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      Case No.: 3:21-CR-00155-JD
                 Case 3:21-cr-00155-JD Document 121 Filed 11/07/22 Page 3 of 6




 1 Bowman, 215 F.3d 951, 960-61 (9th Cir. 2000). Generally, statements are in furtherance if they are

 2 intended to promote the conspiratorial objectives, induce enlistment or further participation in the

 3 group’s activities, prompt further action on the part of conspirators, explain events important to the

 4 conspiracy in order to facilitate its operation, provide reassurance and maintain trust and cohesiveness,

 5 inform participants of the current status of the conspiracy, identify a coconspirator, or are otherwise part

 6 of the information intended to help each conspirator perform his or her role. United States v. Larson,

 7 460 F.3d 1200, 1212 (9th Cir. 2006); United States v. Yarbrough, 852 F.2d 1522, 1535-36 (9th Cir.

 8 1988); United States v. Townley, 472 F.3d 1267, 1273 (10th Cir. 2007); United States v. Doerr, 886 F.2d

 9 944, 951 (7th Cir. 1989). Mere conversations between coconspirators, or merely narrative declarations

10 among them, are not made in furtherance of a conspiracy. Yarbrough, 852 F.2d at 1535. A statement

11 can be in furtherance even though there may be different interpretations, so long as some reasonable

12 basis exists for concluding that the statement furthered the conspiracy. Doerr, 866 F.2d at 952.

13 Statements made by a coconspirator need not be made to a member of the conspiracy to be admissible

14 under Rule 801(d)(2)(E). United States v. Zavala-Serra, 853 F.2d 1512, 1516 (9th Cir. 1988). And the

15 coconspirator’s statement need only be intended to further the conspiracy, it need not actually do so. Id.

16           The coconspirator statements do not implicate Crawford because they are non-testimonial.

17 Crawford v. Washington, 541 U.S. 36, 55 (2004) (stating that “[m]ost of the hearsay exceptions covered

18 statements that by their nature were not testimonial – for example, business records or statements in

19 furtherance of a conspiracy.”). See also Giles v. California, 554 U.S. 353, 375 n.6 (2008) (coconspirator

20 hearsay does not violation the Confrontation Clause because “it [is] not (as an incriminating statement in

21 furtherance of the conspiracy would probably never be) testimonial”); United States v. Allen, 425 F.3d

22 1231, 1235 (9th Cir. 2005).

23           Here, Smith will testify that it was his understanding that Defendant had previously created an

24 offshore trust for Brockman, which was managed for Brockman by Tamine.1 Then, in or about

25 December 1999, when Smith and Brockman created Vista, Brockman instructed Smith to retain

26
             1
            Per the Court’s October 20, 2022 Order, ECF 104, the government has no intention to
27
   introduce any evidence about the “legality” of the Brockman trust structure created for him by
28 Defendant.
    GOVERNMENT’S MOTION IN LIMINE                                                               3
    FOR THE ADMISSION OF STATEMENTS
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      Case No.: 3:21-CR-00155-JD
               Case 3:21-cr-00155-JD Document 121 Filed 11/07/22 Page 4 of 6




 1 Defendant’s services to create a similar offshore structure. According to Smith, Brockman not only

 2 wanted Smith and Defendant to create the Excelsior/Flash offshore structure, Brockman wanted the

 3 Excelsior/Flash structure created in a jurisdiction that would avoid scrutiny by the Internal Revenue

 4 Service.

 5          Smith’s testimony, corroborated by emails and correspondence between Smith and Defendant,

 6 establishes that the relationship between Defendant, Smith, Brockman, and Tamine constituted a

 7 criminal conspiracy as charged in Count One of the Indictment. The Indictment specifically states in

 8 Count One that Defendant was a member a conspiracy to defraud the United States with Smith, and

 9 others. Further, in its August 15, 2022 Notice to Defendant the United States informed Defendant of

10 several individuals it deemed a member of this conspiracy. See Exhibit 1. On November 3, 2022, the

11 United States added Brockman to this list. See Exhibit 2. The object of this conspiracy was to defraud

12 the United States government, to wit: the Department of the Treasury, Internal Revenue Service, in the

13 assessment and collection of federal income taxes owed by Smith on the income he deposited, under

14 Brockman’s direction, into the Excelsior/Flash structure created by Defendant. Brockman’s directions

15 to Smith, including the instruction to retain Defendant to create an offshore structure similar to the one

16 Defendant created for Brockman, were statements in furtherance of this conspiracy and are admissible

17 as non-hearsay pursuant to Fed. R. Evid. 801(d)(2)(E).

18          In the alternative, Brockman’s instructions to Smith constituted non-hearsay offered not for the

19 truth of the matter asserted, but for the purpose of providing context to Smith’s actions. These actions

20 include: 1) retaining Defendant to create Excelsior and Flash; 2) depositing a portion of Vista profits in

21 foreign bank accounts in Flash’s name; and 3) engaging in these actions in a manner to evade paying

22 United States income taxes. As in Cedeno-Cedeno, wherein out-of-court statements by the government

23 of Columbia were admitted as non-hearsay to provide to show the “effect on the listener,” i.e. the

24 reason the U.S. Coast Guard boarded the ship Panga, here Brockman’s instructions to Smith can be

25 construed in the same manner. Cedeno-Cedeno, 2016 WL 4376845 *8 (SDCA 2016). Brockman’s

26 instructions to Smith in December 1999 will not be offered for the “truth of the matter asserted,” but to

27 provide context to Smith’s actions, and that Smith acted in accordance with Brockman’s instructions.

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      GOVERNMENT’S MOTION IN LIMINE                                                                4
      FOR THE ADMISSION OF STATEMENTS
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      Case No.: 3:21-CR-00155-JD
              Case 3:21-cr-00155-JD Document 121 Filed 11/07/22 Page 5 of 6




 1                                              CONCLUSION

 2          Accordingly, the United States respectfully moves this Court for admission, through Smith’s

 3 testimony, of Brockman’s instruction and direction to Smith to retain Defendant to create the

 4 Excelsior/Flash foreign structure permitting Smith to deposit a portion of his Vista income offshore

 5 without incurring any United States income tax, and to guarantee his obligations to Brockman.

 6

 7 Respectfully submitted: November 7, 2022                    STEPHANIE M. HINDS
                                                               United States Attorney
 8
                                                               s/ Corey J. Smith
 9
                                                               COREY J. SMITH
10                                                             Senior Litigation Counsel
                                                               Tax Division
11                                                             MICHAEL G. PITMAN
                                                               Assistant United States Attorney
12                                                             BORIS BOURGET
                                                               Trial Attorney
13
                                                               Tax Division
14

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     GOVERNMENT’S MOTION IN LIMINE                                                                 5
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               Case 3:21-cr-00155-JD Document 121 Filed 11/07/22 Page 6 of 6




 1
                                         CERTIFICATE OF SERVICE
 2

 3
            I the undersigned do hereby certify that on the 7th of November 2022, I electronically filed the
 4
     foregoing Government’s Motion In Limine to Admit Statements of Robert Brockman Under Fed. R.
 5
     Evid. 801(d)(2)(E) with the ECF electronic filing system, which will send notice of electronic filing to
 6
     counsel of record.
 7

 8
                                                                 /s/Corey J. Smith
 9                                                               Senior Litigation Counsel
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      GOVERNMENT’S MOTION IN LIMINE                                                                 6
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